                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

SEAN KYLE MARTIN, AKA Sean K                    No. 23-35161
Bergquist,
                                                D.C. No. 2:21-cv-00278-TOR
                Plaintiff-Appellant,

 v.                                             MEMORANDUM*

HUGO FERNANDEZ CADENA, Mailroom
Employee at AHCC; BONNIE LONGINO,
Mailroom Employee at AHCC; TRACY
SCHNEIDER, HQ Correctional Manager;
CHARLOTTE HEADLEY, Chief of
Security (Publication Review Committee
Chair); JOHN DOE, Publication Review
Committee (Chair); J MARTIN, Grievance
Coordinator,

                Defendants-Appellees.

                   Appeal from the United States District Court
                     for the Eastern District of Washington
                    Thomas O. Rice, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
      Washington state prisoner Sean Kyle Martin appeals pro se from the district

court’s summary judgment in his 42 U.S.C. § 1983 action alleging constitutional

violations. We have jurisdiction under 28 U.S.C. § 1291. We review de novo the

district court’s ruling on cross-motions for summary judgment. Hamby v.

Hammond, 821 F.3d 1085, 1090 (9th Cir. 2016). We affirm.

      The district court properly granted summary judgment for defendants on

Martin’s First Amendment claims because Martin failed to raise a genuine dispute

of material fact as to whether the challenged prison regulations, as applied to

Martin, were unrelated to legitimate penological interests. See Turner v. Safley,

482 U.S. 78, 89-90 (1987) (setting forth the four-factor test for evaluating a prison

regulation which impinges upon a constitutional right); Prison Legal News v. Ryan,

39 F.4th 1121, 1135-36 (9th Cir. 2022) (applying the Turner analysis to an as-

applied challenge and noting that variations in the enforcement of a policy will not

always rise to a constitutional violation).

      The district court properly granted summary judgment for defendants on

Martin’s due process claim because Martin failed to raise a genuine dispute of

material fact as to whether he did not receive the process he was due. See

Procunier v. Martinez, 416 U.S. 396, 417-19 (1974) (explaining that the decision

to censor or withhold delivery of mail must be accompanied by minimum

procedural safeguards), overruled on other grounds by Thornburgh v. Abbott, 490


                                              2                                23-35161
U.S. 401 (1989); Frost v. Symington, 197 F.3d 348, 353 (9th Cir. 1999)

(“[Prisoners have] a Fourteenth Amendment due process liberty interest in

receiving notice that [their] incoming mail is being withheld by prison

authorities.”); cf. Crofton v. Roe, 170 F.3d 957, 961 (9th Cir. 1999) (“[T]emporary

delay in the delivery of [a prisoner’s] publications, resulting from the prison

official’s security inspection, does not violate his First Amendment rights.”).

      Defendant’s motion to seal Volume 4 of the Supplemental Excerpt of

Record (Docket Entry No. 23) is granted. Volume 4 of the Supplemental Excerpt

of Record (Docket Entry No. 29) remains sealed. All other pending motions are

denied.

      AFFIRMED.




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